                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                      KNOXVILLE DIVISION

   ERIE INSURANCE COMPANY,                           )
                                                     )
                                                     )               3:20-CV-00319-DCLC
                  Plaintiff,                         )
                                                     )
          vs.                                        )
                                                     )
   ELECTROLUX HOME PRODUCTS, INC.,                   )
   et al.,                                           )
                                                     )
                  Defendants.


                                               ORDER
         Pursuant to Federal Rule of Civil Procedure 4(m), a defendant must be served within 90

  days after a complaint is filed. If a plaintiff misses the 90-day deadline, “the court – on motion or

  on its own after notice to the plaintiff – must dismiss the action without prejudice against that

  defendant or order that service be made within a specified time.” Fed.R.Civ.P. 4(m). However,

  upon a showing of good cause by the plaintiff, “the court must extend the deadline for service for

  an appropriate period.” Id.

         Plaintiff filed this complaint on July 17, 2020 [Doc. 1]. Summons was issued as to all

  Defendants on July 20, 2020 [Doc. 3]. Defendants Electrolux Home Products, Inc., Electrolux

  North America, Inc., and Midea America Corp have answered [Docs. 7, 8, 11]. However, as of the

  filing of this Order, Plaintiff has not returned summons as executed as to Defendants (1) GD Midea

  Air Conditioning Equipment, Ltd., (2) Midea Group Co., Ltd., and (3) Midea International Trading

  Co., Ltd. and these Defendants have not filed an answer. Therefore, it is hereby ORDERED that

  Plaintiff shall SHOW CAUSE on or before December 2, 2020, why these Defendants should not




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  be dismissed for failure to prosecute as it has failed to properly effect service within the time

  allowed by Federal Rule of Civil Procedure 4(m).

         SO ORDERED:
                                              s/ Clifton L. Corker
                                              United States District Judge




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